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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
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In Re:                                                    Chapter 7

Gary Novello,                                             Judge: Michael B. Kaplan
                     Debtor.
____________________________________


                                          CHANGE OF ADDRESS

Under D. N.J. LBR 2002-1(b) this form must be used by a party to change its address during a case or
proceeding. A debtor who wishes to change the address of a creditor previously included on their
Schedules may also use this form.

Party’s name/type:     Gary Novello
(Example: John Smith, creditor)

                 Old address:     Tara Contracting LLC


                 New address:     Tara Contracting LLC
                                  Attn: Joe Rossi
                                  101 Crest Drive
                                  Bernardsville, NJ 07924


                 New phone no.:
                 (if debtor is filing and their phone number has changed).
I hereby certify under penalty of perjury that the above information is true. If a debtor, I understand that
it is my responsibility to notify the Trustee and any affected party of my change of address.


Date: September 26, 2018                          /s/ David A. Ast
                                                  David A. Ast


                                                                                                     rev.2/1/16
